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                     THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                               )
                                               )
 In re:                                        )            Chapter 11
                                               )
 GALLERIA 2425 OWNER, LLC,                     )            Case No. 23-34815 (JPN)
                                               )
                                 Debtor.       )
                                               )
                 ________________________________________________

                                NOTICE OF APPEAL
                 _________________________________________________


          Notice is hereby given that creditors and real parties in interest Jetall Companies,

Inc., Jetall Capital, LLC, and 2425 WL, LLC (“Appellants”) appeal to the United States

District Court for the Southern District of Texas from the following order:

          a. Order Canceling Lis Pendens Recorded as Instrument Nos. RP-
             2024-477576, RP-2025-23705, and RP-2025-25888 (Dkt. No.
             958), attached as Exhibit 1;

          Jetall Companies, Inc., Jetall Capital, LLC, and 2425 WL, LLC are creditors and

real parties-in-interest in this bankruptcy case.

          The other parties to the appeal and their attorneys include the following:

 National Bank of Kuwait, S.A.K.P.,         Charles C. Conrad
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                     Creditor               Houston, TX 77002
                                            713-276-7600
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          This appeal is timely pursuant to Fed. R. Bankr. Pr. 8002(a)(1) because the

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Appellants timely filed a notice of appeal on January 29, 2025, 1 day after the Order

Canceling Lis Pendens Recorded as Instrument Nos. RP-2024-477576, RPP-2025-23705,

and RP-2025-25888 was entered (see Dkt. No. 958). Accordingly, this notice is filed

within 14 days from the entry of that order.

                                                   Respectfully submitted,

                                                   /s/ Justin Rayome
                                                   Justin Rayome
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                                                   S.D. TX Bar No. 3873342
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                                                   Houston, TX 77027
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                                                   justin.r@jetallcompanies.com

                                                   Attorney for Jetall Companies,
                                                   Inc.




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                           CERTIFICATE OF SERVICE

      The undersigned certifies that on this 29th day of January 2025, a true and
correct copy of the foregoing was served on the following in accordance with the
CM/ECF e-filing system, and upon all others who have consented to service in this
case by registering to receive notices in this case through the CM/ECF e-filing
system.

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                                                    /s/ Justin Rayome
                                                    Justin Rayome



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